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 1         I, J    L        H          , declare:
 2         1.     I have personal knowledge of the facts set forth herein, and if called as a
 3 witness, I could and would competently so testify. I make this declaration in support
 4 Plaintiffs' Motions for Preliminary Injunction and Provisional Class Certification.
 5         2.     I have been incarcerated at FCI Dublin since March 2020. In the future BOP
 6 may transfer me to other BOP facilities, but at any point I could be transferred back to FCI
 7 Dublin.
 8         3.     During my time at FCI Dublin, I have witnessed multiple staff sexually
 9 abuse incarcerated women. FCI Dublin’s inadequate systems for preventing, detecting, and
10 responding to sexual abuse have caused actual harm to myself and others incarcerated at
11 FCI Dublin and put myself and other incarcerated persons at substantial risk of serious
12 harm from sexual assault, harassment, and retaliation from staff.
13         4.     I briefly worked in the kitchen at FCI Dublin. Before I started working there
14 I heard that the officers that worked in the kitchen were having sex with incarcerated
15 workers. When I began work in the kitchen I saw this abuse for my own eyes and I did not
16 feel safe, and almost immediately asked to transfer jobs. The officers who worked in the
17 kitchen, including Jones, Pool, and St. Claire, were terrible. They treated the kitchen like
18 their own little kingdom, and the women who worked there like their servants. I only
19 lasted about two weeks before I was finally transferred to a different job as an orderly in
20 my housing unit.
21         5.     I also witnessed Officer Smith sexually harass multiple women incarcerated
22 at FCI Dublin. From the moment I got to Dublin to the day he was walked off, Smith
23 abused women at the prison. He specifically targeted Latina women who could not speak
24 English. It was well known throughout the prison that he was a sexual predator.
25 Incarcerated people and guards regularly referred to him as “Dirty Dick Smith.”
26         6.     One day in the beginning of 2021 I was cleaning the showers in our unit. I
27 asked Mr. Smith for an extra pair of gloves. He told me “I’ll give you gloves if you dance
28 for me.” I froze, and I replied that I did not dance, and got away as quickly as I could.
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 1         7.     Smith also harassed LBGTQ women. He would make homophobic
 2 comments and gestures, like putting two fingers across his mouth and sticking his tongue
 3 out, or rubbing his fingers together in a “scissoring” gesture. One time in 2021 my friend
 4 and I were walking by him and he did this “scissoring” gesture at us and laughed.
 5         8.     Another time in 2021 Smith was sitting in a chair in his office while a group
 6 of us were in line for commissary. Smith called to the woman next to me. He looked at her,
 7 then looked down and pointed at his crotch, and he had an erection. The woman turned
 8 bright red and ran to her cell, and was afraid to come back out. I also witnessed Officer
 9 Smith enter many incarcerated people’s rooms at night to watch them. One night in 2021
10 Smith entered my room to speak with my roommate. Officer Smith attempted to get me to
11 leave the room by saying “Don’t you need to go get ice?” I could tell that my roommate
12 was uncomfortable, so I told him that we did not need ice and asked him to leave.
13         9.     I did not report Officer Smith’s abuse because I was afraid of being retaliated
14 against. I knew other people who reported abuse who were put in solitary confinement, or
15 transferred to prisons far away from their family, or faced harassment from other staff
16 people.
17         10.    My experiences with Officer Smith made me very anxious. I was abused as a
18 child, and watching him abuse his power reminded me of what I went through. In late 2021
19 or early 2022, I started experiencing panic attacks and insomnia. I went to the facility
20 psychologist around February 2022 and I told her that I had witnessed staff sexually
21 abusing people. She encouraged me to report what I saw, but did not follow up with me or
22 help me report the abuse.
23         11.    When the BOP delegation came to FCI Dublin in 2021 I spoke with a BOP
24 representative. I told her that I had seen officers sexually abuse women and that I was
25 afraid that if I reported I would be taken to the SHU or transferred. The representative said
26 she would follow up with me, but I never heard anything from her or the BOP delegation
27 again. I also went to hear Director Carvajal speak when he visited, but was very
28 disappointed. He opened his remarks by saying sarcastically: “Well, you wanted to be
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 1 heard, so here we are.” This made me and others feel like we were the problem, and that
 2 BOP resented us for making them do their jobs.
 3          12.    Sometime in 2023 FBI agents came to see me at FCI Dublin, and I told them
 4 I was uncomfortable talking without my lawyer. They asked me more questions, and
 5 wanted to know if I had “actually signed a contract” with a lawyer. I felt like they were
 6 pressuring me to speak with them. Eventually they ended the conversation.
 7          13.    When I arrived at FCI Dublin I did not receive proper training about PREA
 8 or how to report staff misconduct. I wasn’t given formal training or shown a video. I had
 9 no idea what PREA was until very recently. Since the warden and other officers were
10 arrested in 2021, BOP has put up some new posters in the units and by the phones, but still
11 have not given us actual training or guidance.
12          14.    There is no effective way to confidentially report sexual assault and abuse by
13 staff at FCI Dublin. They tell us that we can report staff abuse to SIS or other Dublin
14 administrators, but I would never report to anyone who works at this prison because I do
15 not trust them. I know so many people who tried to report abuse, but nothing was done.
16 The staff here protect one another, and they share information with one another even when
17 they aren’t supposed to. We also cannot report through regular calls or emails or mail
18 because they are all monitored by FCI Dublin staff.
19          15.    Staff tell us that we can send confidential email messages to OIG, but we
20 have to use computers in public areas to send these messages, and many people don’t trust
21 that these messages are truly not monitored. I also know many people who have reported
22 abuse or retaliation to OIG but nothing was done to hold staff accountable. It’s very
23 difficult to get calls or visits with attorneys, and our legal mail is often delivered already
24 opened or photocopied, or not delivered at all. FCI Dublin just started a “pilot” program
25 confidential phone line, but they never provided us with any instructions on how to use it.
26 The phones are in locked rooms, and you need to ask a staff person to open the rooms. We
27 also have no idea how long this will last, and I’m still afraid that staff will listen in on
28 these calls.
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 1         16.      Staff at FCI Dublin prevent people from reporting sexual assault and abuse
 2 by staff and retaliate against people who do report. I know many people who faced
 3 retaliation after reporting staff abuse. Several of my friends were put in the SHU for
 4 months after they reported that staff sexually abused them. After one of my friends
 5 reported staff misconduct in 2021, staff started searching her room constantly and
 6 confiscating her property.
 7         17.      If anything, it feels like retaliation has gotten worse since the warden and
 8 other officials were walked off in 2021. The rules have gotten stricter for incarcerated
 9 people and our lives have gotten more difficult, even though it was staff who abused us to
10 begin with. New staff are resentful and they are taking it out on us. New officers like Lt.
11 Jones, Officer Malone, and Officer deLuca are extremely rude and disrespectful. They yell
12 at us, and I’ve heard staff call us “snitches” more times than I can count. They’re also
13 doing more cell searches than ever– I’ve seen that when staff come to do searches they
14 have a list of names, and some people have their cells searched multiple times a day,
15 seemingly for no reason.
16         18.      Two of my friends reported staff abuse in the fall of 2022 and they were
17 immediately labeled as “snitches”-- staff started targeting them, yelling at them, searching
18 their cells constantly for no reason, and doing everything possible to make their lives
19 harder. Recently, after a legal visit in March 2023, I was strip searched by staff, which has
20 never happened before, and which felt to me like clear retaliation for speaking with
21 advocates. I am very afraid of facing further retaliation. I have not seen my children in four
22 years and if I am transferred out of Dublin I may not see them for the rest of my
23 incarceration.
24         19.      There is not adequate mental health care available to survivors of sexual
25 abuse and assault at FCI Dublin. After I started experiencing panic attacks and insomnia in
26 late 2021, I went to the staff psychologist around February 2022. I have repeatedly asked
27 for therapy and psychiatric medication to treat my anxiety, but have never received this
28 care. The psychologist just tells me: “do more exercise.” FCI Dublin recently started
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 1 offering sessions with Tri Valley Care, but only a handful of women have actually seen Tri
 2 Valley counselors, and they only get five, thirty minute sessions. This is not enough. We
 3 are all traumatized in here.
 4           20.    There is little to no medical care available to survivors of sexual abuse and
 5 assault at FCI Dublin. The medical care here is terrible. I once fell down the stairs and
 6 injured my ankle, and could barely walk. When I was finally able to see the medical staff,
 7 Officer Wilson in medical didn’t even examine me and told me: “just wait and it will get
 8 better.” I have an IUD contraceptive that was inserted 10 years ago and needs to come out,
 9 but medical staff have repeatedly told me they won’t remove it.
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                              CERTIFICATE OF TRANSLATION

I, Susan Beaty, am competent to translate from Spanish to English. I certify that I read back the
foregoing statement to J      L       H             in the Spanish language, that the translation was
true and accurate to the best of my abilities, and that she understood it before signing.



August 15, 2023                                               _____________________________
